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UNITED STATES DISTRICT COURT 2013 JUN 27 AH l |= 30
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MARIO DE LA LUZ,

Plaintiff,
vs. CASE NO.:
LFC AGRICULTURAL sEvacEs, INC. 4
D/B/A LIPMAN, a Flonda profn corporau<m, 2: \’5 _c_`[__ §\ _FtM-g@‘Dq\)F

Defendant.

/
COMPLAINT AND DEMAND FOR JURY TRIAL

Plaintiff, MARIO DE LA LUZ (“Plaintiff” or “De La Luz”), by and through
undersigned counsel, hereby sues Defendant, LFC AGRICULTURAL SERVICES, INC.
D/B/A LIPMAN (“Defendant” or “LFC”), and alleges:

l. Plaintiff worked as an employee of Defendant for approximately fourteen (14)
years, from approximately 1998 through on or about May 7, 2013 and brings this action for
unlawful interference and unlawii.ll retaliation under the Family and Medical Leave Act, 29
U.S.C. § 2601 et seq. (“the FMLA”).

JURISDICTION AND VENUE

2. This Court has jurisdiction over this claim arising out of the federal Family
and Medical Leave Act, pursuant to 28 U.S.C. § 1331.

3. Venue is proper in this Court pursuant to 28 U.S.C. § 1331(b), as the events or
omissions giving rise to the claims alleged herein occurred in the Middle District of Florida,

Fort Myers Division.

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PARTIES

4. Defendant is a Florida profit corporation, transacting business in the Middle
District of Florida, Fort Myers Division. Defendant has in excess of fifty (50) employees
working within seventy-five (75) miles.

5. Plaintiff was and is a resident of the Middle District of Florida, Fort Myers
Division. At all times pertinent, Plaintiff worked for Defendant in the Middle District of
Florida, Fort Myers Division.

6. Defendant is a covered entity within the meaning of 29 U.S.C. § 2611 (4).

7. Plaintiff is a covered employee within the meaning of 29 U.S.C. § 2611 (2).

8. Plaintiff has retained counsel and is obligated to pay a fee for services
rendered.
GENERAL ALLEGATIONS
9. On or about December 18, 2012, Plaintiff requested time away from work to

care for his mother, who was suffering from a serious health condition, to wit, she suffered a
broken leg and broken ribs, was not eating, and could not otherwise care for herself.
Plaintiff’s request implicated Plaintifi’s FMLA rights. Plaintiffs request for leave clearly
implicated Plaintiff’s rights under the FMLA, as Plaintiff was requesting a leave of absence
to care for his mother who was suffering from a serious health condition.

10. Upon receipt of Plaintiffs request for FMLA protected leave, Defendant
failed to provide Plaintiff an eligibility notice (and paperwork); and failed to provide plaintiff
with a rights and responsibilities notice. Defendant further failed to in any manner apprise

P|aintiff of his FMLA rights.

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ll. Initially, Defendant’s supervisor denied Plaintiffs request without additional
explanation (in violation of the FMLA). In denying P|aintiffs request, Defendant failed to
apprise Plaintiff of the reason for the denial, and failed to apprise Plaintiff of his rights under
the FMLA.

l2. When Plaintiff pressed the issue with the general manager (who was above the
supervisor in the chain of command), the general manager informally allowed Plaintiff to
take the requested leave. Again, Plaintin was not apprised of his FMLA rights or provided
any FMLA notices or paperwork. Defendant failed to either formally approve or deny
P|aintifl’s request for FMLA leave. k

13. On or about January 18, 2013, Plaintiff returned from his leave, When
Plaintiff returned, and as punishment for leaving, Defendant transferred Plaintiff from the
maintenance department, where he had been working for years, to work in the field, handling
irrigation. Working in irrigation in the fields is a much less desirable position than
maintenance, as it is much more physically taxing and requires a lesser skill set. Essentially,
Defendant demoted Plaintiff because Plaintiff took leave to care for his mother who suffered
from a serious health condition and was unable to care for herself.

14. On or about May 7, 2013, aRer demoting Plaintiff to working in irrigation in
the fields, Defendant terminated Plaintiffs employment without prior warning, and in
violation of Defendant’s own three (3) strikes policy.

15. Since being terminated, Plaintiff has been unable to find work despite his

diligent efforts to find work.

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Count I - Family and Medical Leave Actl
(Interference Regarding Eligibility and Intent to Take Leave)

16. Plaintiff incorporates paragraphs l - 15.

17. Plaintiff engaged in statutorily protected activity when he attempted to take
FMLA leave from work to care for his mother.

18, Plaintiff was entitled to take FMLA leave.

l9. Defendant was obligated to provide Plaintiff with a notice of eligibility and
notice of rights and responsibilities, but did not. Defendant was also obligated to approve or
deny Plaintiff’s request for FMLA leave, but did not.

20. Defendant denied and interfered with Plaintiff’s rights under the FMLA by
not apprising Plaintiff of his FMLA rights when Defendant knew or should have known that
Plaintiff was eligible for and/or required FMLA leave, by not providing Plaintiff with notice
of eligibility and/or notice of rights and responsibilities, and by not approving or denying
Plaintiff’s request for FMLA leave.

21. Plaintiff has suffered financial damages as a result of the interference

22. Defendant’s violation was willful.

Count II - Family and Medical Leave Act
(]nterference Regarding Reinstatement)

23. Plaintiff incorporates paragraphs 1 - 15.
24. Plaintiff engaged in statutorily protected activity when he took leave from

work to care for his mother who suffered from a serious health condition.

 

l All four counts are pled in the altemative.

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25. Plaintiff was entitled to restoration of his regular and normal employment
upon returning to work.

26. Defendant denied and interfered with Plaintift’s rights under the FMLA by
not restoring him to the same or similar position, instead transferring and demoting Plaintiff
and subsequently terminating Plaintiff’s employment.

27. Plaintiff has suffered financial damages as a result of the interference

28. Defendant’s violation was willful.

Count III - Family and Medical Leave Act
(Retaliation Regardiog Eligibility and Intent to Take Leave)

29. Plaintiff incorporates paragraphs l - 15.

30. Plaintiff engaged in statutorily protected activity when he attempted to take
leave from work to care for his mother.

31. Plaintiff was retaliated against for attempting to take FMLA leave and was
denied restoration as a result of and in retaliation for his desire to take FMLA leave.

32. Plaintiff has suffered financial damages as a result of the retaliation.

33. Defendant’s violation was willful.

Count IV - Family and Medical Leave Act
(Retaliation Regarding Reinstatement)

34. Plaintiff incorporates paragraphs l - 15.

35. Plaintiff engaged in statutorily protected activity when he took leave from
work to care for his mother.

36. Plaintiff was retaliated against as a result of taking leave from work to care for

his mother who suffered from a serious health condition.

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37. Plaintiff suffered an adverse employment action when he was transferred,
demoted, and terminated by Defendant.

38. Plaintifl’s transfer, demotion, and termination were causally related to his
engagement in statutorily protected activity.

39. Plaintiff has suffered financial damages as a result of the retaliation.

40. Defendant’s violation was willful.

DEMAND FOR JURY TRIAL
Plaintiff demands a trial by jury on all issues so triable.
PRAYER FOR RELIEF

Plaintiff prays that the Court enter judgment in his favor and against Defendant, and

award monetary damages for back pay, front pay, liquidated damages, reinstatement of

employment and benefits, reasonable attomeys’ fees and costs, and any other relief the Court

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Counsel for Plaintiff

deems appropriate and just.

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